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                                                     U.S. Department of Justice

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                                                     February 28, 2020

Hubert J. Santos, Esq.
Trent LaLima, Esq.
51 Russ Street
Hartford, CT 06106

       Re:     United States v. Donald Cariati Jr.
               Case No.

Dear Messrs. Santos and LaLima:

       This letter confirms the plea agreement between your client, Donald Cariati Jr. (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") in this criminal matter.

THE PLEA AND OFFENSE

       In consideration for the benefits offered under this agreement, the defendant agrees to
waive his right to be indicted and to plead guilty to a one-count information charging a violation
of 26 U.S.C. § 7212(a).

       The defendant understands that, to be guilty of this offense, the following essential
elements must be satisfied:

              1. On or about the dates charged in the information, the defendant took the
       charged actions in an effort to obstruct or impede the administration of the Internal
       Revenue laws;

               2. The defendant acted corruptly; and

               3. There was a connection between the defendant's conduct and the targeted
       action (here, a civil audit).
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THE PENALTIES

        Imprisonment

        This offense carries a maximum penalty of 3 years of imprisonment.

        Supervised Release

       In addition, the Court may impose a term of supervised release of not more than 1 year to
begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to 1 year per violation pursuant to
18 U.S.C. § 3583 with no credit for time already spent on supervised release.



        This offense carries a maximum fine of $5,000. The defendant is also subject to the
alternative fine provision of 18 U.S.C. § 3571. Under this section, the maximum fine that may
be imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to
the defendant resulting from the offense; (2) twice the gross loss resulting from the offense; (3)
$250,000; or (4) the amount specified in the section defining the offense which is $5,000.

       Special Assessment

       In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on each count of conviction. The defendant agrees to pay the special assessment to the
Clerk of the Court on the day the guilty plea is accepted.

       Restitution

         In addition to the other penalties provided by law, the Court may also order that the
defendant make restitution under 18 U.S.C. § 3663, and the Government reserves its right to seek
restitution on behalf of victims consistent with the provisions of§ 3663. The scope and effect of
the order of restitution are set forth in the attached Rider Concerning Restitution. Restitution is
payable immediately unless otherwise ordered by the Court.

         Regardless of restitution that may be ordered by the Court noted above, the defendant
agrees to make restitution in the amount of $1,083,580.47, reflecting the criminal loss calculation
of additional tax due and owing for the relevant years. The Government agrees that the
restitution amount should be reduced by payment of back taxes to the IRS by another source to
include Cariati Developers, Inc., to the extent that the back taxes are applied to the same
obligation giving rise to the restitution amount (specifically, unpaid Withholding Taxes as
described in the Stipulation of Offense Conduct for 2013 through 201 7). Prior to sentencing,
IRS-CI will endeavor to determine whether individuals included in the restitution computation
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above reported and paid over the appropriate income tax and payroll taxes for 2013 through
2017, focusing specifically on individuals who received Forms 1099 from the defendant's
company for 2016 and/or 2017. To extent those amounts were paid over by individuals, those
amounts will be credited against the defendant's restitution obligation. The defendant further
agrees that he will sign the IRS forms deemed necessary by the IRS to enable it to make
assessment of the agreed-upon criminal restitution, including agreeing to sign IRS Form 8821,
"Tax Information Authorization." The defendant further agrees to allow the contents of his IRS
criminal file to be given to civil attorneys and support staff of the United States Attorney's
Office and the IRS to enable them to investigate any taxes owed by the defendant, including, but
not limited to, any civil penalties and interest. With respect to disclosure of the criminal file to
the above-listed individuals and entities, the defendant waives any rights the defendant might
hold under 26 U.S.C. §§ 6103, 7213, and Fed. R. Crim. P. 6(e). The defendant further waives
any other rights he might have to non-disclosure of tax-related information. The defendant
agrees as a special condition of probation or supervised release that he will cooperate with the
IRS to pay all outstanding taxes, interest, and penalties.

        If the Court orders the defendant to pay restitution to the IRS for the failure to pay tax,
either directly as part of the sentence or as a condition of probation or supervised release, the IRS
will use the restitution order as the basis for a civil assessment. 26 U.S.C. § 620l(a)(4). The
defendant does not have the right to challenge the amount of this assessment. 26 U.S.C.
§ 6201(a)(4)(C). Neither the existence of a restitution payment schedule nor the defendant's
timely payment of restitution according to that schedule will preclude the IRS from
administrative collection of the restitution-based assessment, including levy and distraint under
26 U.S.C. § 6331.

       Interest, penalties and fines

         Unless otherwise ordered, should the Court impose a fine or restitution of more than
$2,500 as part of the sentence, interest will be charged on the unpaid balance of the fine or
restitution not paid within 15 days after the judgment date. 18 U.S.C. § 3612(±). Other penalties
and fines may be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C.
§ 3572(h), (i) and § 3612(g).

THE SENTENCING GUIDELINES

       Applicability

         The defendant understands that the Court is required to consider any applicable
Sentencing Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an
appropriate sentence in this case and is not bound by this plea agreement. The defendant agrees
that the Sentencing Guideline determinations will be made by the Court, by a preponderance of
the evidence, based upon input from the defendant, the Government, and the United States
Probation Office. The defendant further understands that he has no right to withdraw his guilty
plea if his sentence or the Guideline application is other than he anticipated, including if the
sentence is outside any of the ranges set forth in this agreement.
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        Acceptance of Responsibility

         At this time, the Government agrees to recommend that the Court reduce by two levels
the defendant's adjusted offense level under§ 3El.l(a) of the Sentencing Guidelines, based on
the defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under § 3El.1 (a) and his offense
level determined prior to the operation of subsection (a) is level 16 or greater, the Government
will file a motion with the Court pursuant to § 3El .1 (b) which recommends that the Court reduce
the defendant's Adjusted Offense Level by one additional level based on his prompt notification
of his intention to enter a plea of guilty. The defendant understands that the Court is not
obligated to accept the Government's recommendations on the reductions.

        The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising
the offense(s) of conviction and truthfully admitting or not falsely denying any additional
relevant conduct for which the defendant is accountable under§ 1B1.3 of the Sentencing
Guidelines, and (2) disclosing to the United States Attorney's Office and the United States
Probation Office a complete and truthful financial statement detailing the defendant's financial
condition. The defendant expressly authorizes the United States Attorney's Office to obtain a
credit report concerning the defendant.

        In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the
Government at the time of the signing of this agreement, which (1) indicate that the defendant
has not terminated or withdrawn from criminal conduct or associations (§ 3El.1 of the
Sentencing Guidelines); (2) could provide a basis for an adjustment for obstructing or impeding
the administration of justice(§ 3Cl.1 of the Sentencing Guidelines); or (3) constitute a violation
of any condition of release. Moreover, the Government reserves the right to seek denial of the
adjustment for acceptance of responsibility if the defendant seeks to withdraw his guilty plea or
takes a position at sentencing, or otherwise, which, in the Government's assessment, is
inconsistent with affirmative acceptance of personal responsibility. The defendant understands
that he may not withdraw his plea of guilty if, for the reasons explained above, the Government
does not make one or both of the recommendations or seeks denial of the adjustment for
acceptance ofresponsibility.

        Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government
have entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional
relevant facts that subsequently come to their attention.
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        Guideline Stipulation

        The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.

        The defendant's base offense level under U.S.S.G. §§ 2Tl.1 and 2T4. l(H) (for loss of
more than $550,000, but less than $1.5 million) is 20. Three levels are subtracted under U.S.S.G.
§ 3E 1.1 for acceptance of responsibility, as noted above, resulting in a total offense level of 17.

       Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate.

        A total offense level 17, assuming a Criminal History Category I, would result in a range
of 24 to 30 months of imprisonment (sentencing table) and a fine range of $10,000 to $95,000,
U.S.S.G. § 5El.2(c)(3). The defendant is also subject to a supervised release term of 1 year.
U.S.S.G. § 5Dl.2.

       The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-
Guidelines sentence.

        The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in
this agreement.

        In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination,
even if it differs from that stipulated by the parties, in any post-sentencing proceeding.

       Information to the Court

        The Government reserves its right to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this
case, including information regarding the defendant's background and character, 18 U.S.C.
§ 3661, with the United States Probation Office and will provide the Probation Officer with
access to material in its file, with the exception of grand jury material.
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WAIVER OF RIGHTS

       The defendant acknowledges and agrees that he is knowingly, intelligently, and
voluntarily waiving the following rights:

        Waiver of Right to Indictment

        The defendant understands that he has the right to have the facts of this case presented to
a federal grand jury, consisting of between sixteen and twenty-three citizens, twelve of whom
would have to find probable cause to believe that he committed the offense set forth in the
information before an indictment could be returned. The defendant acknowledges that he is
waiving his right to be indicted.

        Waiver of Trial Rights and Consequences of Guilty Plea

       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.

         The defendant understands that he has the right to plead not guilty or to persist in that
plea if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that
by pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court,
there will not be a further trial of any kind.

        The defendant understands that, ifhe pleads guilty, the Court may ask him questions
about each offense to which he pleads guilty, and if he answers those questions falsely under
oath, on the record, and in the presence of counsel, his answers may later be used against him in
a prosecution for perjury or making false statements.

       Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement
of such prosecution. The defendant agrees to waive all defenses based on the statute of
limitations with respect to any prosecution that is not time-barred on the date the plea agreement
is signed.
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        Waiver of Right to Challenge Conviction

         The defendant acknowledges that under certain circumstances he is entitled to challenge
his conviction. By pleading guilty, the defendant waives his right to appeal or collaterally attack
his conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or § 2241. In addition to any other claims he might raise, the defendant waives his right to
challenge his conviction based on (1) any non-jurisdictional defects in the proceedings before
entry of this plea, (2) a claim that the statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the scope of the
statute. This waiver does not preclude the defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.

       Waiver of Right to Appeal or Collaterally Attack Sentence

        The defendant acknowledges that under certain circumstances, he is entitled to challenge
his sentence. In consideration for the benefits offered under this agreement, the defendant agrees
not to appeal or collaterally attack the sentence in any proceeding, including but not limited to a
motion under 28 U.S.C. § 2255 and/or§ 2241 if that sentence does not exceed 30 months of
imprisonment, a 1-year term of supervised release, a $100 special assessment, a $95,000 fine,
and restitution as agreed to herein, even if the Court imposes such a sentence based on an
analysis different from that specified above. The Government and the defendant agree that this
waiver applies regardless of whether the term of imprisonment is imposed to run consecutively
to or concurrently with, in whole or in part, the undischarged portion of any other sentence that
has been imposed on the defendant at the time of sentencing in this case. Furthermore, the parties
agree that any challenge to the defendant's sentence that is not foreclosed by this provision will
be limited to that portion of the sentencing calculation that is inconsistent with (or not addressed
by) this waiver. This waiver does not preclude the defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.




ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA.

        The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because he is guilty. The defendant further acknowledges that he is
entering into this agreement without reliance upon any discussions between the Government and
him (other than those described in the plea agreement letter), without promise of benefit of any
kind (other than the concessions contained in the plea agreement letter), and without threats,
force, intimidation, or coercion of any kind. The defendant further acknowledges his
understanding of the nature of the offense to which he is pleading guilty, including the penalties
provided by law. The defendant also acknowledges his complete satisfaction with the
representation and advice received from his undersigned attorney. The defendant and his
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undersigned counsel are unaware of any conflict of interest concerning counsel's representation
of the defendant in the case.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving him.



         The defendant understands that he will be adjudicated guilty of each offense to which he
has pleaded guilty and will be deprived of certain rights, such as the right to hold public office, to
serve on a jury, to possess firearms and ammunition, and in some states, the right to vote.
Further, the defendant understands that if he is not a citizen of the United States, a plea of guilty
may result in removal from the United States, denial of citizenship, and denial of admission to
the United States in the future. The defendant understands that pursuant to section 203(b) of the
Justice For All Act, the Federal Bureau of Prisons or the United States Probation Office will
collect a DNA sample from the defendant for analysis and indexing. Finally, the defendant
understands that the Government reserves the right to notify any state or federal agency by which
he is licensed, or with which he does business, as well as any current or future employer of the
fact of his conviction.



         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of his participation in
attempting to obstruct an IRS audit, which forms the basis of the information in this case.

        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the
Government may void all or part of this agreement. If the agreement is voided in whole or in
part, the defendant will not be permitted to withdraw his guilty plea.
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  NO OTHER PROMISES

          The defendant acknowledges that no other promises, agreements, or conditions have been
  entered into other than those set forth in this plea agreement, and none will be entered into unless
  set forth in writing, signed by all the parties.

         This letter shall be presented to the Court, in open court, and filed in this case.

                                                Very truly yours,

                                                JOHN H. DURHAM
                                                UNITED STATES ATTORNEY



                                                        IE - .{. LARAIA
                                                      •   ANT UNITED STATES ATTORNEY



         The defendant certifies that he has read this plea agreement letter and its attachment(s) or
      had it read or translated to him, that he has had ample time to discuss this agreement and its
 a rl • merit( ) i U1 counsel and that he fully understands and accepts its terms.




 DONALD CARIATI         JR,
 The Defendant

        I have thoroughly read, reviewed and explained this plea agreement and its attachment(s)
 to my client who advises me that he understands and accepts its terms.



  I IJJ Rli RT SANTOS, ESQ.                             Date
l/f.RENT LALIMA, ESQ.
  Attorneys for the Defendant
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         STIPULATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

       The defendant and the Government stipulate to the following offense conduct and
relevant conduct that give rise to the defendant's agreement to plead guilty to the information:

    1. The defendant operated a business known as Cariati Developers, Inc. Through that
business, he hired a number of people to perform functions such as mechanic work, hauling,
snow plowing, and office work. Between 2013 and 2017, Cariati paid and/or caused to be paid a
number of these individuals with company checks, rather than through a payroll company,
asserting that they were independent contractors or subcontractors.

    2. When someone is appropriately an independent contractor earning a particular
amount of income, the company paying the independent contractor is required to issue a Form
1099. Employees, on the other hand, receive a Fmm W-2, and an employer is responsible for
withholding and collecting income taxes that are owed by employees to the IRS and reporting
the withholdings to the IRS on a quarterly basis. In addition, a business is required to withhold
and collect the employees' share of Social Security and Medicare taxes, and to pay over the
employer's share of the required contributions to Social Security/Medicare taxes. These income
tax withholdings and Social Security/Medicare taxes (both employee and employer share),
hereinafter referred to as "Withholding Taxes," are to be reported to the IRS on the employer's
quarterly federal tax return ("Form 941") and are to be timely filed with the IRS before the end
of the month that follows the quarter's end.

    3. Cariati, knowing that many individuals he asserted were subcontractors were really
appropriately employees, paid them with company checks in order to evade the responsibility to
withhold the taxes discussed above, and to pay over such taxes. Moreover, Cariati would and
did inform certain individuals that they were paid off the books-meaning that their pay was not
reported to the IRS. Consistently, for 2013 through 2015, Cariati Developers, Inc. failed to issue
Forms 1099 to Cariati's "subcontractors." Only during an audit which IRS conducted of Cariati
Developers, Inc. for 2013, 2014, and 2015, did Cariati cause Forms 1099 to be produced to the
IRS for 2013 and 2014.

     4. During the course of the audit discussed above, Cariati's accountant/representative made
available invoices to the IRS revenue agent which purported to substantiate that individuals were
appropriately considered subcontractors. Those invoices were purported to have been created in
2013, by people including an individual with initials "M.S." for work performed. However,
generally, M.S. and others whose names appeared on the invoices did not actually create the
invoices in 2013. Instead, Cariati created and/or caused others to create those false documents to
be provided to the revenue agent for the purpose of obstructing the revenue agent's audit of
Cariati Developers, Inc. 's records and tax return, and to prevent the revenue agent from assessing
tax.

    5. In 2015, 2016, and 2017 Cariati paid certain individuals partially "on the books," as
employees receiving Forms W-2, and partially "off the books," wherein Forms 1099 were not
issued for those "off the books" amounts. Cariati caused Forms 1099 to be issued for 2016 and
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2017, knowing that individuals should have been paid as employees, and that Withholding Taxes
should have been withheld and paid over. In addition, in 2016 and 201 7, Cariati failed to issue
Forms 1099 to a number of people who performed work for the company.

    6. During the audit, in or about December 2016, Cariati also caused his
accountant/representative to provide a false invoice to the IRS revenue agent in connection with
the purchase of products for a cigarette boat in 2014. The original invoice from the sales
company was billed to "Donny Cariata," and used the defendant's home address as the "ship to"
address. The false invoice submitted to the IRS altered and obscured the description of the main
items purchased, and was billed to Cariati Developers and used the business as the "ship to"
address. These falsities were designed to hide the fact that the purchase was for personal
expenditures, and not a business expense. In fact, Cariati Developers, Inc. paid the invoice, and
recorded the invoice as a business expense. Cariati' s submission of the false invoice was
designed to obstruct and impede the IRS audit and to prevent tax from being assessed.

        6. The parties agree that the relevant tax loss for under the Guidelines is between
$550,000 and $1,500,000. That range accounts for the fact that Cariati Developers Inc. failed to
account for, withhold, and pay over income tax withholdings, the employees' share of
Withholding Taxes, and the employer's portion of the Withholding Taxes during the years at
issue. It should be noted that, particularly with respect to employees to whom Forms 1099 were
issued for 2016 and 2017, some of those individuals may have reported their income on their
Forms 1040 as reported on the Forms 1099 and may have paid over the equivalent amount of
income tax and other taxes that otherwise would have been withheld and paid over by Cariati had
those individuals been appropriately treated as employees.

          This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional offense conduct and relevant conduct to the Court in
    ·, e ti .n with sen~ u iJ1g.




The Defendant




HUBERT SANTOS, ESQ.
TRENT LALIMA, ESQ.
Attorneys for the Defendant
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                            RIDER CONCERNING RESTITUTION

        The Court may order that the defendant make restitution under 18 U.S.C. § 3663 as
follows :

1. If the offense resulted in damage to or loss or destruction of property of a victim of the
   offense:

  A.    Return the property to the owner of the property or someone designated by the owner; or
                      I

  B.   Ifreturn of the property is impossible, impracticable, or inadequate, pay an amount equal
       to:

       The greater of -
       (I) the value of the property on the date of the damage, loss, or destruction; or

       (II) the value of the property on the date of sentencing, less the value as of the date the
            property is returned.

2. In the case of an offense resulting in bodily injury to a victim -

   A. Pay an amount equal to the costs of necessary medical and related professional services
      and devices related to physical, psychiatric, and psychological care; including non-
      medical care and treatment rendered in accordance with a method of healing recognized
      by the law of the place of treatment;

   B. Pay an amount equal to the cost of necessary physical and occupational therapy and
       rehabilitation; and

   C. Reimburse the victim for income lost by such victim as a result of such offense;

3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay
   an amount equal to the cost of necessary funeral and related services; and

4. In any case, reimburse the victim for lost income and necessary child care, transportation,
   and other expenses incurred during participation in the investigation or prosecution of the
   offense or attendance at proceedings related to the offense.

         The order of restitution has the effect of a civil judgment against the defendant. In
addition to the Court-ordered restitution, the Court may order that the conditions of its order of
restitution be made a condition of probation or supervised release. Failure to make restitution as
ordered may result in a revocation of probation, 18 U.S.C. § 3565, or a modification of the
conditions of supervised release, 18 U.S.C. § 3583(e). Failure to pay restitution may also result
in the defendant being held in contempt, or the defendant's re-sentencing to any sentence which
might originally have been imposed by the Court. See 18 U.S.C. §§ 3613A, 3614. The Court
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may also order that the defendant give notice to any victim(s) of his offense under 18 U.S.C. §
3555.
